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     Beach Living Trust dated January 22, 1999
 7
                                UNITED STATES BANKRUPTCY COURT
 8                                     DISTRICT OF NEVADA
 9    In re:                                                     Case No.: BK-N-14-50333-btb
                                                                 Chapter: 11
10    ANTHONY THOMAS and WENDI THOMAS
                                                                 [Lead Case – Jointly Administered]
11
            Affects AT EMERALD, LLC                             Case No.: BK-N-14-50331-btb
12          Affects all Debtors                                 Chapter: 11
13                                                               NOTICE OF CONTINUED 2004
                                                                 EXAMINATION OF THE PERSON
14                                                               MOST KNOWLEDGEABLE OF
                                                                 THE SARASOTA VAULT
15
                                                                 Continued Date: August 5, 2014
16                                                               Continued Time: 9:00 a.m. EST

17

18   TO: ALL PARTIES IN INTEREST

19               NOTICE IS HEREBY GIVEN that the 2004 Examination of the Person Most

20   Knowledgeable of the Sarasota Vault, upon oral examination pursuant to Federal Rule of

21   Bankruptcy Procedure 2004, previously scheduled for July 10, 2014 at 9:00 a.m. EST at the

22   Sarasota Vault, located at 640 South Washington Blvd., Suite 125, Sarasota, Florida 34236,

23   has been continued to August 5, 2014 at 9:00 a.m. EST.

24             Dated this 9th day of July, 2014.

25                                           HOLLAND & HART LLP
                                                   /s/ Joseph G. Went
26                                           By:_______________________
                                                Timothy A. Lukas, Esq. (4678)
27                                              Joseph G. Went, Esq. (9220)
28                                                 Page 1 of 1

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